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               THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

THE RAYMOND                          CASE NO. ______
CORPORATION,
                                     (Related to United States District Court for
            Petitioner,              the Northern District of Mississippi Civil
                                     Action No. 3:20CV00308-MPM-RP)
      v.

WARSHAUER LAW GROUP P.C.,
and MICHAEL WARSHAUER,

            Respondents.


   DEFENDANT/PETITIONER THE RAYMOND CORPORATION’S
MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO COMPEL
    PRODUCTION PURSUANT TO SUBPOENAS TO PRODUCE
   DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
  INSPECTION OF PREMISES IN A CIVIL ACTION DIRECTED AT
  WARSHAUER LAW GROUP, P.C., AND MICHAEL WARSHAUER


      The Raymond Corporation seeks to compel compliance with two Subpoenas

that command the production of documents in Rodney Jones v. The Raymond

Corporation. The Subpoenas were served on Michael Warshauer and Warshauer

Law Group, P.C. (collectively, “Respondents”). The Subpoenas were properly

issued by the Northern District of Mississippi, where Jones v. Raymond is pending,

and personally served. Each Respondent and the place for compliance with each

Subpoena is located within this District. The Subpoenas seek information that is



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relevant to materials relied upon by one of the plaintiffs’ retained expert witnesses,

and Respondents are the only remaining potential source for the materials sought

pursuant to the Subpoenas.

      Respondents served objections, and to date have failed and refused to produce

any responsive documents. Respondents have also refused multiple options and

efforts by Raymond to avoid motion practice. Indeed, these offers have gone without

any substantive response. This Court should compel Respondents to produce the

documents and communications sought in the Subpoenas, as further described below

or, in the alternative, order one of the alternative options previously offered to the

Respondents.

           I.      FACTUAL AND PROCEDURAL BACKGROUND

                Jones v. Raymond General Background

      Jones v. Raymond arises out of an incident on August 29, 2019, at a FedEx

Supply Chain warehouse located in Olive Branch, Mississippi. Plaintiff Rodney

Jones alleges that he was injured in a collision incident while operating a Model

4250 stand-up counterbalanced lift truck manufactured by The Raymond

Corporation (“Raymond”). He alleges that the lift truck he operated at the time of

the incident was defectively designed and unreasonably dangerous, in relevant part

to this Motion, because it lacked a door to enclose the operator’s compartment and



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trap the operator during a collision incident. The case is now pending in the Northern

District of Mississippi as Civil Action No. 3:20CV00308-MPM-RP.

             Relevant Discovery Background Related to the Documents and
             Communications Sought Pursuant to the Subpoenas

      Respondents represent the plaintiffs in Jones v. Raymond. Respondents

retained Dr. John Meyer to offer design defect opinions in the case. In support of

his opinion that the lift truck operated by Mr. Jones at the time of the subject incident

was defective because it lacked a door, Dr. Meyer wrote in his report:

      Gap, Inc. is another company that utilizes doors. It is known to use
      doors on its stand-up forklifts in its 3.2 million square foot warehouse
      in Fishkill, New York, employing over 1,200 people. It was recently
      (March 2021) verified that Gap has at least 31 Raymond forklifts at this
      location and that all are equipped with doors.

Declaration of Francis H. LoCoco (“LoCoco Decl.”) ¶ 2, Ex. A, Meyer Report at 19.

It cites to “Ray Rivera report, Corsi Investigations LLC, March 30, 2021.” Id. It

then reproduces two photographs taken at a slanted angle which purport to be

Raymond forklifts with doors at Gap’s Fishkill, New York, warehouse, and

depicting red forklift trucks with enclosed operator compartments. Id. at 20.

      During Dr. Meyer’s deposition, Raymond’s counsel inquired about the Ray

Rivera report that Dr. Meyer cited. LoCoco Decl. ¶ 3, Ex. B, Meyer Dep. at 111:19-

112:21. At the deposition, Raymond’s counsel requested a copy of the Ray Rivera

report, or that Dr. Meyer remove the reference and citation. Id. at 112:24-113:2.


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Subsequently, the plaintiffs’ lawyers produced a copy of the Ray Rivera report, and

the reference to it has not been withdrawn. LoCoco Decl. ¶ 4.

      Raymond then issued Subpoenas to Raymond Rivera and Corsi Investigations

LLC, seeking both documents and a deposition related to the March 30, 2021 report.

LoCoco Decl. ¶¶ 5-6, Exs. C-D, Subpoenas to Rivera and Corsi Investigations LLC.

The plaintiffs in Jones v. Raymond and Respondents as their counsel received notice

of the Subpoenas to Mr. Rivera and Corsi Investigations LLC, which included

requests for communications with Respondents. LoCoco Decl. ¶¶ 7-8, Exs. E-F,

Notice of Intent to Serve Subpoena and Notices of Deposition to Rivera and Corsi

Investigations LLC. No one asserted any objections, including as to any purported

work product protection, and no one filed any motion to prevent the deposition of

Mr. Rivera from going forward. LoCoco Decl. ¶ 9. Mr. Rivera sat for a deposition

on February 23, 2022, offering testimony for both himself and his company. LoCoco

Decl. ¶ 10, Ex. G, Rivera Dep. at 8:19-23, 9:2-10. Counsel for the plaintiffs in Jones

v. Raymond was present at the deposition. No work product objections were

asserted, and Mr. Rivera was never instructed not to answer questions about

communications with Attorney Warshauer. See generally id.

      At the deposition, Mr. Rivera testified that Respondents retained him to

“obtain videos and/or photos of standup forklifts with doors at the warehouse of Gap,


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Inc. Fishkill distribution campus,” “obtain videos of the forklifts being used,” and

obtain the number of forklifts with doors in the facility. Id. at 29:22-30:17; see also

LoCoco Decl. ¶ 11, Ex. H, Rivera Report at 1. Mr. Rivera tried to get into the

facility, but “determined that it is impossible to get in there because it’s not open to

the public. It’s a warehouse where there is no public access to it.” LoCoco Decl.,

Ex. G, Rivera Dep. at 32:9-33:7. He further testified: “You have to be either

employed by them or you have to have, a contract with them when you’re making

deliveries.” Id. Indeed, to enter the facility, employees must “scan” an “ID,” and if

the scan does not work, then a GAP employee checking IDs must look up the

individual to ensure they are “actually allowed into the building.” Id. at 38:19-39:4.

Being unable to gain access, Mr. Rivera located a job posting for a loss prevention

specialist at the facility, and with Attorney Warshauer’s full knowledge, applied for

the job. Id. at 31:2-20, 33:8-34:9.

      After being hired, Mr. Rivera worked “at least three days,” including an 8-

hour training shift on his first day, and “at the most two weekends.” Id. at 16:11-21,

48:19-3, 57:8-12. During his few shifts, he used an app called Timestamp camera

on his phone to take pictures. Id. at 18:11-19:10, 19:20-20:2. Mr. Rivera placed his

cell phone in the front pocket of his shirt, and “would just let it do its job.” Id. at




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48:4-14, 19:4-6. Mr. Rivera took pictures like that as “the result of not wanting other

people to know that [he was] taking pictures.” Id. at 48:15-18.

      Although Mr. Rivera used his real name and background in his application for

the job, he did not tell anyone at the GAP the real reason he applied for the job. Id.

at 34:18-35:4. Mr. Rivera did not tell his supervisor that he was there doing a

surveillance job for Mr. Warshauer. Id. at 39:24-40:3. He also never told his

supervisor he was taking pictures. Id. at 40:4-6. He also never asked for permission

to take pictures. Id. at 40:7-9. After completing the “operation,” Mr. Rivera quit

because he had “no reason to stay” and had gotten what he needed. Id. at 49:4-9.

When he quit, he told the hiring manager at GAP that he had found another job,

which was untrue. Id. at 49:10-23. When Mr. Rivera quit, he also did not tell the

hiring manager that he had gotten the photographs he needed. Id. at 49:23-25.

      While completing the assignment for Respondents, Mr. Rivera communicated

with Attorney Warshauer by phone and e-mail. Id. at 42:2-8. Mr. Rivera also

communicated with Attorney Warshauer by text messaging regarding the

assignment. Id. at 25:22-25. Raymond sought communications and documents

exchanged with Respondents related to this assignment, but Mr. Rivera did not

produce any such documents. Id. at 24:22-26:18. Instead, Mr. Rivera testified that




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he had not retained any of these requested materials because he got a new e-mail

service provider and had not retained the earlier communications. Id. at 27:7-28:6.

            The Documents Sought Pursuant to Subpoenas to Warshauer

      After learning that the documents and communications were unavailable from

Mr. Rivera, Raymond served subpoenas on Michael Warshauer and Warshauer Law

Group, P.C., the only other party to the materials sought. These subpoenas seek

substantially identical information from each Respondent, and Raymond seeks to

compel a narrow production of three categories of documents:

          Communications about the GAP, or the Fishkill facility, exchanged

            between Respondents and Mr. Rivera/Corsi Investigations LLC;

          Communications about forklifts of any kind exchanged between

            Respondents and Mr. Rivera/Corsi Investigations LLC; and

          Documents       provided   by       Respondents   to   Mr.   Rivera/Corsi

            Investigations LLC regarding forklifts of any kind.

LoCoco Decl. ¶ 12-13, Exs. I-J, Subpoenas at Appendix A. The subpoenas were

personally served on Michael Warshauer on April 6, 2022, in his individual capacity

and as the registered agent of Warshauer Law Group, P.C. LoCoco Decl. ¶ 14, Ex.

K.




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      On April 20, 2022, Attorney Warshauer and Warshauer Law Group, P.C.

separately filed and served their “Objections” to these Subpoenas, but in substance

asserted the same objections for each.        LoCoco Decl. ¶¶ 15-16, Exs. L-M,

Objections. Respondents object to each of the requests based on relevance and work

product privilege, and that each seeks only to harass Respondents.

      None of these objections warrants a complete refusal to produce any

responsive materials, and Respondents should be compelled to produce the

communications with Mr. Rivera and Corsi Investigations, LLC, and documents

exchanged with them. However, in order to avoid motion practice, Raymond made

multiple proposals to the attorneys representing the plaintiffs in Jones v. Raymond:

either (a) Attorney Warshauer could execute an affidavit attesting to his knowledge

and complicity with Mr. Rivera’s conduct, or (b) the parties could enter a stipulation

that the evidence obtained by Mr. Rivera would not be used by the plaintiffs in Jones

v. Raymond. LoCoco Decl. ¶¶ 17-18, Exs. N-O, Letter and Email from LoCoco to

Warshauer. Counsel for Raymond never received any response to these proposals.

LoCoco Decl. ¶ 19.

                                II.   ARGUMENT

      Federal Rule of Civil Procedure 45 allows a party to command the production

of designated documents by a nonparty at a place within 100 miles of where the



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person resides, is employed, or regularly transacts business in person. Fed. R. Civ.

Pro. 45(a), (c)(2)(A). Raymond issued and served the Subpoenas in compliance with

Rule 45, and Warshauer has not objected as to the form or means of service of the

Subpoenas. See LoCoco Decl. ¶¶ 12-16, Exs. I-M.

      Pursuant to Rule 26(b)(1):

      Parties may obtain discovery regarding any nonprivileged matter that
      is relevant to any party's claim or defense and proportional to the needs
      of the case, considering the importance of the issues at stake in the
      action, the amount in controversy, the parties’ relative access to
      relevant information, the parties’ resources, the importance of the
      discovery in resolving the issues, and whether the burden or expense of
      the proposed discovery outweighs its likely benefit. Information within
      this scope of discovery need not be admissible in evidence to be
      discoverable.

Id. When the recipient of a subpoena for documents refuses to produce requested

documents, the party that served the subpoena may move for an order compelling

production. Fed. R. Civ. P. 45(d)(2)(B)(i).

      For the reasons addressed below, Raymond is entitled to each designated

category of documents in Respondents’ possession, and their production should be

compelled.




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             All Work Product Objections Have Been Waived

             1.     Any Work Product Protection was Waived by Allowing Mr.
                    Rivera’s Deposition to Proceed without Objection

      If any work product protection existed, Respondents waived the objection and

protection by not timely raising the alleged objection.

      Objections which are not timely raised are waived. Fed. R. Civ. P. 33(b)(4);

Chapman v. Cole v. Itel Container Intern. B.V., 865 F.2d 676, 686 (5th Cir. 1989);

Ramirez v. County of Los Angeles, 231 F.R.D. 407, 409 (C.D.Cal.2005) (“A party

who fails to file timely objections waives all objections, including those based on

privilege or work product.”); see also Pham v. Hartford Fire Ins. Co., 193 F.R.D.

659 (D.Colo.2000) (finding claim of privilege waived where the defendant failed to

file objections to interrogatories until 71 days after the interrogatories were served);

Smith v. Conway Org., Inc., 154 F.R.D. 73, 76 (S.D.N.Y. Apr.1, 1994) (deeming

waived a work-product objection asserted nearly four months after the document

request was served). Work product protection is also waived for materials disclosed

to an adversary or testifying expert witnesses. See Fed. R. Civ. P. 26(b)(3); United

States v. Sanmina Corporation, 968 F.3d 1107 (9th Cir. 2020); Ecuadorian Plaintiffs

v. Chevron Corp. , 619 F.3d 373, 378 (5th Cir. 2010).

      Despite receiving notice of the subpoenas issued to Mr. Rivera and Corsi

Investigations LLC, and the substance of what Raymond sought pursuant to those


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subpoenas, no one – neither Respondents, nor the plaintiffs in Jones v. Raymond,

nor Mr. Rivera or Corsi Investigations LLC – asserted a work product objection or

sought to prevent discovery of this information from Mr. Rivera. See LoCoco Decl.

¶¶ 7-8, Exs. E-F; LoCoco Decl. ¶ 9.

      Mr. Rivera then appeared at his deposition on February 23, 2022, and counsel

for the plaintiffs in Jones v. Raymond also attended. Counsel lodged no objections

at all during the deposition. See generally LoCoco Decl. ¶ 10, Ex. G. Most notably,

there was no work product objection asserted to any questions by Raymond’s

counsel regarding communications with Attorney Warshauer or the requests for

production of the requested documents.       See, e.g., id. at 12:9-25 (discussing

substance of conversations between Mr. Rivera and Attorney Warshauer without

objection), 33:8-34:3 (same), 42:2-8 (same), 52:21-53:4 (same), 59:4-13 (same),

24:22-25:25 (discussing request to produce communications with Respondents,

without objection), 26:15-27:6 (discussing request to produce documents provided

by Respondents without objection). Mr. Rivera answered these questions. Id.

      The only reason Mr. Rivera did not produce the communications subpoenaed

from him was because he had changed email service providers and no longer had

access to earlier email messages. See id. at 27:7-28:6. Accordingly, Raymond’s




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only option was to pursue the production of these communications from the other

side, namely Attorney Warshauer and/or Warshauer Law Group, P.C.

      If any work product protection applied to the documents and communications

sought, it was waived by the time Mr. Rivera was deposed on the subject without

objection. Raymond is entitled to obtain these materials.

             2.     Any Work Product Protection was Waived by Allowing Dr.
                    Meyer to Rely Upon Mr. Rivera’s Report

      Work product protection is waived when otherwise protected materials are

used in testimony. See United States v. Nobles, 422 U.S. 225, 239–40 (1975). When

the party claiming the privilege uses an investigator, or interviewer, as a witness and

then attempts to prevent discovery of notes or other materials prepared by the

investigator, or interviewer, on the subject of his or her testimony, it is settled that

this waives the privilege. Id.; see also Kallas v. Carnival Corp., No. 06-20115-CIV,

2008 WL 2222152, at *4 (S.D. Fla. May 27, 2008). A partial disclosure of work

product entitles an adverse party to discover related work product materials that

may be used to counter the effect of that partial disclosure. See Resolution Trust

Corp. v. Mass. Mut. Life Ins. Co., 200 F.R.D. 183, 193 (W.D.N.Y.2001); In re

Kidder Peabody Sec. Litig., 168 F.R.D. 459, 472–73 (S.D.N.Y.1996) (party cannot

use work product as a sword and at the same time invoke the work product doctrine

as a shield to prevent disclosure of the same or related materials); Harding v. Dana

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Transport, Inc., 914 F. Supp. 1084, 1098 (D.N.J. 1996) (“litigants must not

manipulate the work product doctrine for their own benefit by attempting to

selectively disclose their attorney's work product.”).

      Dr. Meyer unquestionably relied upon Mr. Rivera’s report by citing to it and

reproducing materials contained in it in Dr. Meyer’s own report. LoCoco Decl. Ex.

A at 19-20. As a result, all related materials to Mr. Rivera’s report and what led to

its creation are also waived and discoverable. Resolution Trust Corp., 200 F.R.D. at

193; In re Kidder Peabody Sec. Litig., 168 F.R.D. at 472–73; Harding, 914 F. Supp.

at 1098.

      In sum, Mr. Rivera’s work cannot be used against Raymond without allowing

Raymond to discover all the materials related to that work, which may then be used

to cross-examine the plaintiffs’ evidence.

             3.     Any Work Product Protection was Waived/Vitiated by
                    Deceptive Conduct Approved and/or Ratified by Counsel

      Respondents’ communications are not protected by the work product doctrine.

The Eleventh Circuit has explained that unprofessional, or in this instance unethical

conduct, by a lawyer “may vitiate the work product privilege,” to the extent it exists.

Parrott v. Wilson, 707 F.2d 1262, 1271 (11th Cir. 1983) (quoting Moody v. IRS, 654

F.2d 795, 799–801 (D.C.Cir.1981). “[T]he purpose of the work product privilege is

to protect the integrity of the adversary process; therefore, it would be improper to

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allow an attorney to exploit the privilege for ends that are antithetical to that

process.” Id. (internal quotations and citation omitted). The Eleventh Circuit

affirmed the district court’s order compelling production of clandestinely recorded

conversations. Id. at 1271-72.

      The Georgia Rules of Professional Conduct that govern Attorney Warshauer,

who is licensed to practice in Georgia, require lawyers to be truthful when dealing

with others on a client’s behalf. Georgia Rule of Professional Conduct 4.1. The

ethics rules also prohibit a lawyer from using “methods of obtaining evidence [from

third-parties] that violate the legal rights of such a person.” Georgia Rule of

Professional Conduct 4.4(a).     Attorney Warshauer is responsible for unethical

conduct by Mr. Rivera, a nonlawyer retained by Attorney Warshauer. Georgia Rule

of Professional Conduct 5.3(c). Mississippi, where the Jones v. Raymond case is

pending, has similar ethical obligations. See Mississippi Rules of Professional

Conduct 4.1, 4.4 & 5.3(c).

      Here, Mr. Rivera testified about his surreptitious conduct to obtain evidence

from third-party the GAP. Mr. Rivera gained access to a private, secured facility of

a third-party through deception, for the purpose of taking photos and/or video inside

because he was unable to do so through public access. Attorney Warshauer knew

about this plan and did not stop it. Attorney Warshauer then also ratified Mr.


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Rivera’s misleading conduct by providing the evidence obtained by him to another

nonlawyer retained by Attorney Warshauer, Dr. Meyer. Parrott instructs that

materials generated by this type of conduct are not protected by the work product

doctrine, or at least the conduct vitiates the protection.

      Respondents’ two cases cited in support of their work product objection are

unavailing. Hickman v. Taylor first established the work product doctrine, but

recognized work product protection had limits. 329 U.S. 495, 511 (1947). Hickman

does not afford protection here. Respondents’ reliance on Taylor v. Wal-Mart

Transportation is similarly misguided because it does not involve unprofessional

conduct that vitiates the work product protection, if any. See generally Taylor v.

Wal-Mart Transp., LLC, 320CV00162KHJLGI, 2021 WL 5069518 (S.D. Miss. July

9, 2021).

             Each Specific Request Seeks Relevant and Discoverable
             Information for the Jones v. Raymond Case

             1.     Warshauer should be Compelled to Produce Communications
                    with Rivera/Corsi about the GAP and the Fishkill Facility

      The first request to each Subpoena seeks:

      All e-mails, written correspondence of any kind, text messages, or
      voicemails, regarding Gap, Inc. or Gap, Inc. Fishkill Distribution
      Campus located at 100-110 Merritt Boulevard, Fishkill, NY 12524, by
      and between any or all of the following: Corsi Investigations, LLC (or
      anybody acting on its behalf), Warshauer Law Group, P.C. (or anybody
      acting on its behalf, including without limitation Michael Warshauer,


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      Stan Grantham, or Jasper Abbott or any other attorney in the above-
      captioned case), Ray Rivera, and/or Michael Warshauer conclusion
      Raymond respectfully requests the Court grant its Motion to Compel
      Production, and order such other relief to which Raymond may be
      entitled.

LoCoco Decl. ¶¶ 12-13, Exs. I-J, Appendix A.

      Raymond requests that Respondents be compelled to produce responsive

communications about the GAP or the Fishkill Distribution Campus by and between

Attorney Warshauer or any of his colleagues, and Mr. Rivera or any of Mr. Rivera’s

colleagues.1

      These communications are discoverable. They are relevant to the evidence

obtained by Mr. Rivera, put into a report, and provided to Dr. Meyer, who is now

relying upon said evidence to support his design defect opinions. What led to this

evidence being generated is relevant both substantively and for impeachment

purposes, and is therefore discoverable. See Committee Notes, Fed. R. Civ. Pro. 26.

      Respondents object that the request is overbroad because it does not expressly

limit itself to production of communications about the GAP or the Fishkill facility

in this matter (i.e. Jones v. Raymond). Respondents have advanced similar design



1
  Raymond is not seeking to compel production of any communications that do not
include Mr. Rivera or his colleagues. Specifically, Raymond is not seeking to
compel the production of communications exclusively between counsel and staff at
Warshauer Law Group, P.C. about the GAP or Fishkill facility.

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defect theories on behalf of multiple plaintiffs, in cases against Raymond and

Raymond’s competitors, in several jurisdictions across the country. Raymond is not

required to limit its discovery to materials that Respondents unilaterally decide are

related and relevant to the Jones v. Raymond case.

      Raymond is entitled to complete discovery on these communications to

determine what, if any, further motion practice may be warranted with respect to this

evidence in the Northern District of Mississippi. Respondents should be compelled

to produce responsive communications about the GAP or the Fishkill Distribution

Campus by and between Attorney Warshauer or any of his colleagues, and Mr.

Rivera or any of Mr. Rivera’s colleagues.

             2.     Warshauer should be Compelled to Produce Communications
                    with Rivera/Corsi about forklifts

      The second request to each Subpoena seeks:

      All e-mails, written correspondence of any kind, text messages, or
      voicemails, regarding forklifts of any kind, by and between any or all
      of the following: Corsi Investigations, LLC (or anybody acting on its
      behalf), Warshauer Law Group, P.C. (or anybody acting on its behalf,
      including without limitation Michael Warshauer, Stan Grantham, or
      Jasper Abbott or any other attorney in the above-captioned case), Ray
      Rivera, and/or Michael Warshauer.

LoCoco Decl.¶¶ 12-13, Exs. I-J, Appendix A.

      Respondents     make    nearly    identical    objections   to   this   request.

Communications between Respondents and Mr. Rivera or anybody acting on his


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behalf, are relevant, discoverable, and not protected by the work product doctrine

for all of the same reasons addressed above. Notably, though they argue this request

is overbroad, Respondents’ argument focuses on their law firm’s involvement in

forklift litigation. They do not argue that Mr. Rivera has been retained to conduct

any investigation into forklifts that is not being used in the Jones v. Raymond case.

Raymond does not seek to compel the production of communication involving solely

employees of Warshauer Law Group, P.C. Because Raymond does not know the

contents of any communications, it is unable and should not be required to narrow

the scope of the request any further.

      For the reasons addressed above with respect to communications about GAP

and the Fishkill facility, Respondents should also be compelled to produce

responsive communications about forklifts of any kind by and between Attorney

Warshauer or any of his colleagues, and Mr. Rivera or any of Mr. Rivera’s

colleagues.

              3.   Warshauer should be Compelled to Produce Documents They
                   Provided to Rivera/Corsi about forklifts

      The third request to each Subpoena seeks:

      All documents provided to Corsi Investigations LLC and/or Ray Rivera
      from Michael Warshauer and/or Warshauer Law Group, P.C.,
      regarding forklifts of any kind.

LoCoco Decl.¶¶ 12-13, Exs. I-J, Appendix A.


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        This material is relevant, discoverable, and sought for a proper purpose.

Relevant to this subject, Mr. Rivera wrote in his report: “Client provided Agency the

following sample images of forklifts in regard to this investigation” and then

reproduced four images which purport to show forklift trucks with doors, received

from Attorney Warshauer by e-mail. LoCoco Decl. Ex. G at 26:19-27:6; id. Ex. H

at 2. Mr. Rivera was provided written information about forklifts for the purpose of

completing the assignment, and that information is relevant and discoverable to

complete discovery regarding the evidence relied upon by Dr. Meyer in forming his

opinions in Jones v. Raymond.

        Respondents’ work product doctrine argument fails for the same reason with

respect to these documents.

        Respondents should also be compelled to produce responsive documents they

provided to Mr. Rivera or any of Mr. Rivera’s colleagues relating to forklifts of any

kind.

              As an Alternative to Compliance with the Subpoenas,
              Respondents Should Be Required to Execute an Affidavit or
              Stipulation

        As an alternative to producing the communications and documents, Raymond

requests that Respondents be required to do either of the following:




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      (a) execute a stipulation on behalf of Rodney Jones and Deangela
      Battle that they will not use the photographs or other information
      obtained from Mr. Rivera’s work on Respondents’ behalf; or

      (b) execute a declaration that confirms Attorney Warshauer’s
      knowledge and authorization of Mr. Rivera’s conduct with respect to
      the GAP and Fishkill facility.

Either of these alternatives, which were previously proposed to Respondents, would

adequately resolve this dispute without requiring the production of communications

and documents.

                               III.   CONCLUSION

      WHEREFORE, The Raymond Corporation respectfully requests the Court

GRANT its Motion to Compel, and order Michael Warshauer and Warshauer Law

Group, P.C. to produce all of the following that are in their possession:

      1.     All communications, including e-mails, letters, other written

correspondence, text messages, and voicemails, between Warshauer Law Group,

P.C. (or anybody acting on its behalf) or Michael Warshauer, and Raymond Rivera

or Corsi Investigations, LLC (or anybody acting on their behalf) regarding the

following two subjects:

             a.    Gap, Inc. or Gap, Inc. Fishkill Distribution Campus located at

      100-110 Merritt Boulevard, Fishkill, NY 12524; or

             b.    forklifts of any kind.



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      2.    All documents regarding forklifts of any kind provided to Raymond

Rivera or Corsi Investigations, LLC from Warshauer Law Group, P.C. (or anybody

acting on its behalf) or Michael Warshauer.

      In the alternative, Raymond requests an order requiring Respondents to either

execute a stipulation regarding the use of materials obtained by Mr. Rivera, or a

declaration regarding Attorney Warshauer’s knowledge and approval of Mr.

Rivera’s tactics and conduct.

      Raymond requests the Court order any other or further relief as the Court

deems just and proper.

      Respectfully submitted on Tuesday, May 31, 2022.

                                      THE RAYMOND CORPORATION
                                      By and through its attorneys,

                                      s/ Samantha A. Lunn
                                      Samantha A. Lunn

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                                      The Raymond Corporation




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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 31, 2022, I electronically filed the foregoing with
the Clerk of the Court using the ECF system, and sent copies by U.S. Mail, postage
prepaid, as follows:

MERKEL & COCKE, P.A.                          MARKOW WALKER, P.A.
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Attorneys for the Plaintiffs                  Insurance Company
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Warshauer Law Group P.C.

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Attorneys for the Plaintiffs

        Dated May 31, 2022.

                                       s/ Samantha A. Lunn

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